                United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________


No. 23-5178                                                September Term, 2022
                                                                       1:21-cv-02433-CKK
                                                  Filed On: August 11, 2023 [2012139]
Katherine Daniela Pacheco Quiros, et al.,

              Appellees

Gulshan Karimova,

              Appellant

      v.

Molly Amador, Deputy Consul General and
Visa Unit Chief U.S. Embassy in Costa
Rica, et al.,

              Appellees

                                        ORDER

      The notice of appeal was filed on August 10, 2023, and docketed in this court on
August 11, 2023. It is, on the court's own motion,

       ORDERED that appellant submit the documents listed below by the dates
indicated.

     Certificate as to Parties, Rulings, and Related Cases         September 11, 2023
     Docketing Statement Form                                      September 11, 2023
     Entry of Appearance Form                                      September 11, 2023
     Procedural Motions, if any                                    September 11, 2023
     Statement of Intent to Utilize Deferred Joint Appendix        September 11, 2023
     Statement of Issues to be Raised                              September 11, 2023
     Transcript Status Report                                      September 11, 2023
     Underlying Decision from Which Appeal Arises                  September 11, 2023
     Dispositive Motions, if any                                   September 25, 2023
                   United States Court of Appeals
                              FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________

No. 23-5178                                                  September Term, 2022

It is

       FURTHER ORDERED that appellee submit the documents listed below by the
dates indicated.

        Certificate as to Parties, Rulings, and Related Cases        September 11, 2023
        Entry of Appearance Form                                     September 11, 2023
        Procedural Motions, if any                                   September 11, 2023
        Dispositive Motions, if any                                  September 25, 2023

It is

       FURTHER ORDERED that appellant submit a transcript status report every 30
days after the filing of the initial report, until all transcripts have been received. Within
three days of receipt of all transcripts, appellant is directed to file a Final Status Report
indicating the date the complete transcript was received. All reports must be served on
the parties and each reporter. It is

       FURTHER ORDERED that briefing in this case be deferred pending further order
of the court.

                                                           FOR THE COURT:
                                                           Mark J. Langer, Clerk

                                                   BY:     /s/
                                                           Scott H. Atchue
                                                           Deputy Clerk

The following forms and notices are available on the Court's website:

        Civil Docketing Statement Form
        Entry of Appearance Form
        Transcript Status Report Form
        Request to Enter Appellate Mediation Program
        Notice Concerning Expedition of Appeals and Petitions for Review
        Stipulation to be Placed in Stand-By Pool of Cases




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